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Attorneys for Plaintiffs


                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

                                            Document Electronically Filed
VROOM, INC.;
VROOM AUTOMOTIVE, LLC                       C.A. No. ____________________
d/b/a VROOM, d/b/a
TEXAS DIRECT AUTO;                          PLAINTIFFS’ COMPLAINT FOR
CARSTORY, LLC; and                          DECLARATORY JUDGMENT
VAST.COM, INC. d/b/a CARSTORY,

                             Plaintiffs,

               v.

SIDEKICK
TECHNOLOGY, LLC,

                             Defendant.


       Plaintiffs Vroom, Inc. (“Vroom”) (address: 1375 Broadway, Floor 11, New York, New

York, 10018), Vroom Automotive, LLC d/b/a Vroom, d/b/a Texas Direct Auto (“Vroom

Automotive”) (address: 12053 Southwest Freeway, Stafford, Texas, 77477), CarStory, LLC
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(“CarStory, LLC”) (address: 320 Congress Ave, Ste C, Austin, Texas, 78701), and Vast.com, Inc.

d/b/a CarStory (“CarStory”) (address: 320 Congress Ave, Ste C, Austin, Texas, 78701), file this

Complaint for Declaratory Judgment (“Complaint”) against Defendant Sidekick Technology, LLC

(“Sidekick”) (address1: 77 Bloomfield Avenue, Pine Brook, New Jersey, 07058), and hereby allege

as follows:

                                      NATURE OF THE ACTION

         1.      This is an action for declaratory judgment of non-infringement of United States

Patent Nos. 9,141,984 (the “’984 Patent”); 8,744,925 (the “’925 Patent”); 8,650,093 (the “’093

Patent”); 9,123,075 (the “’075 Patent”); 9,147,216 (the “’216 Patent”); 9,460,467 (the “’467

Patent”); 9,665,897 (the “’897 Patent”); 9,626,704 (the “’704 Patent”); 10,140,655 (the “’655

Patent”); 10,223,722 (the “’722 Patent”); 10,223,720 (the “’720 Patent”); and 10,796,362 (the

“’362 Patent”) (collectively, the “Patents-in-Suit”) arising under the patent laws of the United

States, 35 U.S.C. § 1, et seq., and the Declaratory Judgment Act, 28 U.S.C. § 2201.

         2.      Plaintiffs request relief because Sidekick has stated in correspondence that it owns

the Patents-in-Suit and intends to enforce the Patents-in-Suit against Plaintiffs in Federal Court.

         3.      On September 29, 2020, Sidekick’s counsel sent Vroom’s Chief Legal Officer a

letter providing a cursory analysis of a single claim of a single patent2 and alleging that Vroom

infringes that patent as well as ten others.3 Sidekick demanded that Vroom “shall” shut down its

business and open up its accounting information based on this cursory analysis and blanket

allegation. See Exhibit 1.




1
  On information and belief this address is Defendant’s principal place of business.
2
  U.S. Patent No. 10,140,655.
3
  U.S. Patent Nos. 9,141,984; 8,744,925; 8,650,093; 9,123,075; 9,147,216; 9,460,467; 9,665,897;
9,626,704; 10,140,655; 10,223,722; and 10,223,720.




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           4.      Following Sidekick’s September 29, 2020 letter, counsel for Vroom engaged in

discussions with counsel for Sidekick. The discussions ended on December 16, 2020, when

counsel for Sidekick requested a written response to the September 29 letter by the end of the

year.

           5.      On December 31, 2020, Vroom responded by notifying Sidekick that Vroom does

not directly or indirectly infringe, either literally or under the doctrine of equivalents, any of the

11 patents identified in Sidekick’s September 29, 2020 letter. See Exhibit 2. Vroom also

provided an element-by-element analysis illustrating noninfringement of claim 1 of the ’655

Patent. Id.

           6.      On March 2, 2021, counsel for Sidekick sent another demand letter, stating that

“Sidekick fully intends to enforce its intellectual property rights to the fullest extent of the law

and intends to pursue all remedies available to it.” See Exhibit 3. In its March 2 letter, Sidekick

not only reiterated its allegations of infringement against Vroom, but also implicated Plaintiff

CarStory in its allegations and demands. See id. Furthermore, Sidekick added a twelfth patent4

to its allegations and demands. See id.

           7.      On information and belief, and according to Sidekick’s representations, Sidekick

owns the Patents-in-Suit.

           8.      Plaintiffs have not infringed, and are not infringing, the Patents-in-Suit. Plaintiffs

thus seek declaratory judgment to that effect, so that they may remove the cloud of uncertainty

arising from Sidekick’s allegations of infringement.




4
    U.S. Patent No. 10,796,362.




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                                        THE PARTIES

         9.    Plaintiff Vroom is a corporation organized and existing under the laws of

Delaware, with its principal place of business at 1375 Broadway, Floor 11, New York, New

York, 10018.

         10.   Plaintiff Vroom Automotive is a limited liability company organized and existing

under the laws of Texas, with its principal place of business at 12053 Southwest Freeway,

Stafford, Texas, 77477. Vroom Automotive is a licensed motor vehicle dealer and a leading e-

commerce platform for buying and selling used cars.

         11.   Plaintiff CarStory, LLC is a limited liability company organized and existing

under the laws of Delaware with a mailing address of 251 Little Falls Drive, Wilmington,

Delaware, 19808. CarStory, LLC, through its wholly owned subsidiary CarStory, is a leader in

AI-powered analytics and digital services for automotive retail.

         12.   Plaintiff CarStory is a corporation organized and existing under the laws of

California, with its principal place of business at 320 Congress Ave, Ste C, Austin, Texas,

78701.

         13.   Vroom is a public company listed and traded on The Nasdaq Global Select

Market. Each of Vroom Automotive, CarStory, LLC and CarStory is a wholly-owned subsidiary

of Vroom.

         14.   On information and belief, Defendant Sidekick is a limited liability company

organized and existing under the laws of New Jersey, with a purported principal place of

business at 77 Bloomfield Avenue, Pine Brook, New Jersey, 07058. See Certificate of

Formation on file with the New Jersey State Treasurer, attached as Exhibit 4.




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                                   JURISDICTION AND VENUE

        15.      Plaintiffs incorporate all preceding paragraphs by reference as though fully set

forth herein.

        16.      As detailed above and herein, an actual case or controversy exists between

Plaintiffs and Defendant as to whether Plaintiffs have infringed or are infringing one or more

claims of the Patents-in-Suit.

        17.      The Court has subject matter jurisdiction over Plaintiffs’ request for a declaratory

judgment under 28 U.S.C. §§ 2201 and 2202.

        18.      This action arises under the patent laws of the United States, 35 U.S.C. §§ 1, et

seq., which are within the subject matter of this Court under 28 U.S.C. §§ 1331 and 1338(a).

        19.      The Court has personal jurisdiction over Defendant because Defendant is

organized under the laws of and resides in the State of New Jersey in this district.

        20.      Defendant is subject to general and specific personal jurisdiction in this judicial

district based upon its purposeful, systematic, and continuous contacts with New Jersey,

including forming under the laws of New Jersey, as well as maintaining an address and a

registered agent in this judicial district.

        21.      Venue is proper in this district under at least 28 U.S.C. § 1391 because Defendant

resides in this judicial district and because Defendant is subject to personal jurisdiction within

this judicial district.

                                    FACTUAL BACKGROUND

        22.      Vroom is an innovative, end-to-end e-commerce platform designed to offer a

better way to buy and a better way to sell used vehicles. Vroom’s scalable, data-driven

technology brings all phases of the vehicle buying and selling process to consumers wherever




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they are and offers an extensive selection of vehicles, transparent pricing, competitive financing,

and at-home pick-up and delivery. Vroom’s products and services may be accessed at

Vroom.com or companion mobile applications.

       23.      CarStory is a leader in AI-powered analytics and digital services for automotive

retail. Leveraging its machine learning, informed by more than 7 million listings per day and

more than 18 million consumer sessions per month, CarStory provides the industry’s most

complete and accurate view of predictive market data to Vroom’s national e-commerce and

vehicle operations platform. CarStory drives automotive retail innovation by aggregating,

optimizing and distributing current market data from thousands of automotive sources and

offering its digital retailing services to dealers, top automotive financial services companies and

household names in automotive industry research and retailing. CarStory’s products and

services may be accessed at CarStory.com or companion mobile applications.

       24.      Sidekick holds itself out as the developer of “technology” permitting customers to

select a desired automobile based on available market information and complete the transaction

for that automobile from their home. See Exhibit 1. On information and belief, Sidekick is a

company that exists for the specific purpose of pursuing infringement lawsuits and does not

commercialize any products or services embodying the Patents-in-Suit.

                                        COUNT I
                Declaratory Judgment of Non-infringement of the ’984 Patent

       25.      Plaintiffs incorporate the foregoing paragraphs by reference as though set forth

fully herein.

       26.      On information and belief, Sidekick claims to own all rights, title, and interest in

the ’984 Patent. A true and correct copy of the ’984 Patent is attached hereto as Exhibit 5.

       27.      The ’984 Patent has four independent claims: claims 1, 2, 21, and 39.




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     28.   Claim 1 of the ’984 Patent recites (with emphasis added):

           A method comprising:

           storing, on a computer readable medium, automobile market data
           which is representative of recent automobile market characteristics,
           including at least pricing data and inventory data, wherein the
           automobile market data includes information received from at least
           one manufacturer, a plurality of dealers, and a plurality of
           consumers, wherein at least a portion of the automobile market
           data is updated in real-time;

           receiving, via a consumer interface, a first request for a response
           regarding a first automobile, which is manufactured by a first
           manufacturer, the first request made by a consumer located at a
           first location and including geolocation information of the
           consumer;

           executing instructions, by at least one processing device, to:

           determine current inventory data of the first automobile, wherein
           the current inventory data of the first automobile includes a
           plurality of dealer inventories of a plurality of dealers, with each
           respective dealer of the plurality of dealers having a respective
           dealer inventory, and wherein the current inventory data indicates
           that a first dealer of the plurality of dealers does not currently have
           the first automobile in a first inventory of the first dealer;

           provide first automobile market data including the current
           inventory data of the first automobile to the first manufacturer,
           based on the first request, via a manufacturer interface, wherein the
           first automobile market data is based on real-time automobile
           market data;

           generate, based on the first automobile market data including the
           current inventory data of the first automobile, via the manufacturer
           interface, at least one of a verification indicating that the first
           automobile can be provided for the consumer, a confirmation
           indicating that the first automobile can be provided for the
           consumer, and an offer indicating that the first automobile can be
           provided for the consumer;

           determine, using the geolocation information, that the consumer is
           located at the first location;

           generate, based on the first location, an in-market dealer area
           proximately located to the first location;




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           determine that the first dealer is located at a second location within
           the in-market dealer area;

           provide a first manufacturer response via the consumer interface,
           the first manufacturer response including the at least one of the
           verification indicating that the first automobile can be provided for
           the consumer, the confirmation indicating that the first automobile
           can be provided for the consumer, and the offer indicating that the
           first automobile can be provided for the consumer;

           request, from the first dealer, via a dealer interface, an
           inventoryless bid to sell the first automobile based on the first
           manufacturer response;

           receive, from the first dealer located at the second location and
           engaging in inventoryless bidding, the inventoryless bid to provide
           the first automobile, which is at least one of yet to be manufactured
           and in the inventory of another entity;

           generate driving directions from the first location to the second
           location; and

           provide the inventoryless bid and the driving directions to the
           consumer interface, the inventoryless bid including at least a price
           and a delivery option; and

           receiving a consumer selection of the inventoryless bid including a
           first delivery option which specifies a pickup location at the first
           dealer, wherein the consumer selection indicates a consumer
           intention to purchase the first automobile.

     29.   Claim 2 of the ’984 Patent recites (with emphasis added):

           A method comprising:

           storing, on a computer readable medium, automobile market data
           which is representative of recent automobile market characteristics,
           including at least pricing data and inventory data, wherein the
           automobile market data includes information received from at least
           one manufacturer, a plurality of dealers, and a plurality of
           consumers;

           receiving, via a consumer interface, a first request for a response
           regarding a first automobile, which is manufactured by a first
           manufacturer, the first request made by a consumer located at a
           first location and including geolocation information of the
           consumer;




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           executing instructions, by at least one processing device, to:

           determine current inventory data of the first automobile, wherein
           the current inventory data of the first automobile includes a
           plurality of dealer inventories of a plurality of dealers, with each
           respective dealer of the plurality of dealers having a respective
           dealer inventory, and wherein the current inventory data indicates
           that a first dealer of the plurality of dealers does not currently have
           the first automobile in a first inventory of the first dealer;

           provide first automobile market data including the current
           inventory data of the first automobile to the first manufacturer,
           based on the first request, via a manufacturer interface;

           generate, based on the first automobile market data including the
           current inventory data of the first automobile, via the manufacturer
           interface, at least one of a verification indicating that the first
           automobile can be provided for the consumer, a confirmation
           indicating that the first automobile can be provided for the
           consumer, and an offer indicating that the first automobile can be
           provided for the consumer;

           determine, using the geolocation information, that the consumer is
           located at the first location;

           generate, based on the first location, an in-market dealer area
           proximately located to the first location;

           determine that the first dealer is located at a second location within
           the in-market dealer area;

           provide a first manufacturer response via the consumer interface,
           the first manufacturer response including the at least one of the
           verification indicating that the first automobile can be provided for
           the consumer, the confirmation indicating that the first automobile
           can be provided for the consumer, and the offer indicating that the
           first automobile can be provided for the consumer;

           request, from the first dealer, via a dealer interface, an
           inventoryless bid to sell the first automobile based on the first
           manufacturer response;

           receive, from the first dealer located at the second location and
           engaging in inventoryless bidding, the inventoryless bid to provide
           the first automobile, which is at least one of yet to be manufactured
           and in the inventory of another entity;




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            generate driving directions from the first location to the second
            location; and

            provide the inventoryless bid and the driving directions to the
            consumer interface, the inventoryless bid including at least a price
            and a delivery option; and

            receiving a consumer selection of the inventoryless bid including a
            first delivery option which specifies a pickup location at the first
            dealer.

      30.   Claim 21 of the ’984 Patent recites (with emphasis added):

            A system comprising:

            a computer readable medium storing automobile market data
            which is representative of recent automobile market characteristics,
            including at least pricing data and inventory data, wherein the
            automobile market data includes information received from at least
            one manufacturer, a plurality of dealers, and a plurality of
            consumers; and

            at least one processing device operably coupled to the computer
            readable medium, the at least one processing device executing
            instructions to:

            receive, via a consumer interface, a first request for a response
            regarding a first automobile, which is manufactured by a first
            manufacturer, the first request made by a consumer located at a
            first location and including geolocation information of the
            consumer;

            determine current inventory data of the first automobile, wherein
            the current inventory data of the first automobile includes a
            plurality of dealer inventories of a plurality of dealers, with each
            respective dealer of the plurality of dealers having a respective
            dealer inventory, and wherein the current inventory data indicates
            that a first dealer of the plurality of dealers does not currently have
            the first automobile in a first inventory of the first dealer;

            provide first automobile market data including the current
            inventory data of the first automobile to the first manufacturer,
            based on the first request, via a manufacturer interface;

            generate, based on the first automobile market data including the
            current inventory data of the first automobile, via the manufacturer
            interface, at least one of a verification indicating that the first
            automobile can be provided for the consumer, a confirmation



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            indicating that the first automobile can be provided for the
            consumer, and an offer indicating that the first automobile can be
            provided for the consumer;

            determine, using the geolocation information, that the consumer is
            located at the first location;

            generate, based on the first location, an in-market dealer area
            proximately located to the first location;

            determine that the first dealer is located at a second location within
            the in-market dealer area;

            provide a first manufacturer response via the consumer interface,
            the first manufacturer response including the at least one of the
            verification indicating that the first automobile can be provided for
            the consumer, the confirmation indicating that the first automobile
            can be provided for the consumer, and the offer indicating that the
            first automobile can be provided for the consumer;

            request, from the first dealer, via a dealer interface, an
            inventoryless bid to sell the first automobile based on the first
            manufacturer response;

            receive, from the first dealer located at the second location and
            engaging in inventoryless bidding, the inventoryless bid to provide
            the first automobile, which is at least one of yet to be manufactured
            and in the inventory of another entity;

            generate driving directions from the first location to the second
            location;

            provide the inventoryless bid and the driving directions via the
            consumer interface, the inventoryless bid including at least a price
            and a delivery option; and

            receive a consumer selection of the inventoryless bid including a
            first delivery option which specifies a pickup location at the first
            dealer.

      31.   Claim 39 of the ’984 Patent recites (with emphasis added):

            A non-transitory computer readable medium storing software
            instructions which, when executed, cause an information
            processing apparatus to:

            store automobile market data which is representative of recent
            automobile market characteristics, including at least pricing data



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            and inventory data, wherein the automobile market data includes
            information received from at least one manufacturer, a plurality of
            dealers, and a plurality of consumers;

            receive, via a consumer interface, a first request for a response
            regarding a first automobile, which is manufactured by a first
            manufacturer, the first request made by a consumer located at a
            first location and including geolocation information of the
            consumer;

            determine current inventory data of the first automobile, wherein
            the current inventory data of the first automobile includes a
            plurality of dealer inventories of a plurality of dealers, with each
            respective dealer of the plurality of dealers having a respective
            dealer inventory, and wherein the current inventory data indicates
            that a first dealer of the plurality of dealers does not currently have
            the first automobile in a first inventory of the first dealer;

            provide first automobile market data including the current
            inventory data of the first automobile to the first manufacturer,
            based on the first request, via a manufacturer interface;

            generate, based on the first automobile market data including the
            current inventory data of the first automobile, via the manufacturer
            interface, at least one of a verification indicating that the first
            automobile can be provided for the consumer, a confirmation
            indicating that the first automobile can be provided for the
            consumer, and an offer indicating that the first automobile can be
            provided for the consumer;

            determine, using the geolocation information, that the consumer is
            located at the first location;

            generate, based on the first location, an in-market dealer area
            proximately located to the first location;

            determine that the first dealer is located at a second location within
            the in-market dealer area;

            provide a first manufacturer response via the consumer interface,
            the first manufacturer response including the at least one of the
            verification indicating that the first automobile can be provided for
            the consumer, the confirmation indicating that the first automobile
            can be provided for the consumer, and the offer indicating that the
            first automobile can be provided for the consumer;




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               request, from the first dealer, via a dealer interface, an
               inventoryless bid to sell the first automobile based on the first
               manufacturer response;

               receive, from the first dealer located at the second location and
               engaging in inventoryless bidding, the inventoryless bid to provide
               the first automobile, which is at least one of yet to be manufactured
               and in the inventory of another entity;

               generate driving directions from the first location to the second
               location;

               provide the inventoryless bid and the driving directions via the
               consumer interface, the inventoryless bid including at least a price
               and a delivery option; and

               receive a consumer selection of the inventoryless bid including a
               first delivery option which specifies a pickup location at the first
               dealer.

       32.     Plaintiffs do not directly or indirectly infringe the ’984 Patent, either literally or

under the doctrine of equivalents, at least because Plaintiffs’ services do not employ, incorporate,

or otherwise make use of “inventoryless” bidding as required by every claim of the ’984 Patent.

       33.     A substantial, immediate, and real controversy exists between Plaintiffs and

Defendant regarding whether Plaintiffs infringe the ’984 Patent by making, using, importing,

offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application. A judicial declaration is necessary to determine the

parties’ respective rights regarding the ’984 Patent.

       34.     Plaintiffs seek a judgment declaring that Plaintiffs do not infringe, either literally

or under the doctrine of equivalents, one or more claims of the ’984 Patent by making, using,

importing, offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application, either directly under 35 U.S.C. § 271(a), or indirectly

under 35 U.S.C. §§ 271(b) and (c).




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                                        COUNT II
                Declaratory Judgment of Non-infringement of the ’925 Patent

       35.      Plaintiffs incorporate the foregoing paragraphs by reference as though set forth

fully herein.

       36.      On information and belief, Sidekick claims to own all rights, title, and interest in

the ’925 Patent. A true and correct copy of the ’925 Patent is attached hereto as Exhibit 6.

       37.      The ’925 Patent has seven independent claims: claims 1, 2, 22, 34, 54, 55, and 56.

       38.      Claim 1 of the ’925 Patent recites (with emphasis added):

                A method comprising:

                storing, on a computer readable medium, automobile market data
                which is representative of recent automobile market characteristics,
                including at least pricing data and inventory data, wherein the
                automobile market data includes information received from at least
                one manufacturer, a plurality of dealers, and a plurality of
                consumers, wherein at least a portion of the automobile market
                data is updated in real-time;

                receiving, via a consumer interface, a first request for a response
                regarding a first automobile, wherein the first request is made by a
                consumer using a mobile device which takes a picture of a vehicle
                identification number and the vehicle identification number is
                recognized using optical character recognition;

                causing at least one processing device to:

                provide first automobile market data, based on the first request, via
                a dealer interface, wherein the first automobile market data is
                based on real-time automobile market data and actual sales data for
                comparable automobiles within a predetermined time period and
                within a predetermined geographic area;

                request, via a dealer interface from at least two dealers, a bid to sell
                the first automobile based on the first request, wherein the at least
                two dealers engage in inventoryless bidding by providing a bid on
                the first automobile when the first automobile is at least one of yet
                to be manufactured and in the inventory of another entity;

                provide the response including at least two bids via the consumer
                interface, the at least two bids each including at least a price and a




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            delivery option for the first automobile, the at least two bids based
            on the first automobile market data; and

            receiving a consumer selection of a first bid including a first
            delivery option which specifies a first pickup location at a first
            dealer and a second delivery option which specifies a different
            second pickup location, wherein the consumer selection indicates a
            consumer intention to purchase the first automobile based on the
            first bid and specifies one of the first delivery option and the
            second delivery option, wherein the first bid is an inventoryless bid
            requiring the first automobile to be at least one of manufactured
            and transferred from the inventory of another entity to the first
            dealer.

      39.   Claim 2 of the ’925 Patent recites (with emphasis added):

            A method comprising:

            storing, on a computer readable medium, automobile market data
            which is representative of recent automobile market characteristics,
            including at least pricing data and inventory data, wherein the
            automobile market data includes information received from a
            plurality of dealers and a plurality of consumers;

            receiving, via a consumer interface, a first request for a response
            regarding a first automobile, the first request including a vehicle
            identification number;

            causing at least one processing device to:

            provide first automobile market data, based on the first request, via
            a dealer interface, wherein the first automobile market data is
            based on real-time automobile market data and actual sales data for
            comparable automobiles within a predetermined time period and
            within a predetermined geographic area;

            request, via a dealer interface from at least two dealers, a bid to sell
            the first automobile based on the first request;

            provide the response including at least two bids via the consumer
            interface, the at least two bids each including at least a price and a
            delivery option for the first automobile, the at least two bids based
            on the first automobile market data; and

            receiving a consumer selection of a first bid including a first
            delivery option which specifies a first pickup location at a first
            dealer and a second delivery option which specifies a different
            second pickup location, wherein the consumer selection indicates a



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            consumer intention to one of purchase the first automobile and
            lease the first automobile based on the first bid and specifies one of
            the first delivery option and the second delivery option.

      40.   Claim 22 of the ’925 Patent recites (with emphasis added):

            A method comprising:

            storing, on a computer readable medium, automobile market data
            which is representative of recent automobile market characteristics,
            including at least pricing data and inventory data, wherein the
            automobile market data includes information received from a
            plurality of dealers and a plurality of consumers;

            receiving, via a consumer interface, a first request for a response
            regarding a first automobile, the first request including data
            provided with at least one graphical user interface component;

            causing at least one processing device to:

            provide first automobile market data, based on the first request, via
            a dealer interface, wherein the first automobile market data is
            based on real-time automobile market data and actual sales data for
            comparable automobiles within a predetermined time period and
            within a predetermined geographic area;

            request, via a dealer interface from at least two dealers, a bid to sell
            the first automobile based on the first request;

            provide the response including at least two bids via the consumer
            interface, the at least two bids each including at least a price and a
            delivery option for the first automobile, the at least two bids based
            on the first automobile market data; and

            receiving a consumer selection of a first bid including a first
            delivery option which specifies a first pickup location at a first
            dealer and a second delivery option which specifies a different
            second pickup location, wherein the consumer selection indicates a
            consumer intention to one of purchase the first automobile and
            lease the first automobile based on the first bid and specifies one of
            the first delivery option and the second delivery option.

      41.   Claim 34 of the ’925 Patent recites (with emphasis added):

            A system comprising:

            a computer readable medium storing automobile market data
            which is representative of recent automobile market characteristics,



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            including at least pricing data and inventory data, wherein the
            automobile market data includes information received from a
            plurality of dealers and a plurality of consumers;

            at least one processing device operably coupled to the computer
            readable medium, the at least one processing device executing
            instructions to:

            receive, via a consumer interface, a first request for a response
            regarding a first automobile, the first request including a vehicle
            identification number;

            provide first automobile market data, based on the first request, via
            a dealer interface, wherein the first automobile market data is
            based on real-time automobile market data and actual sales data for
            comparable automobiles within a predetermined time period and
            within a predetermined geographic area;

            request, via a dealer interface from at least two dealers, a bid to sell
            the first automobile based on the first request;

            provide the response including at least two bids via the consumer
            interface, the at least two bids each including at least a price and a
            delivery option for the first automobile, the at least two bids based
            on the first automobile market data; and

            receive a consumer selection of a first bid including a first delivery
            option which specifies a first pickup location at a first dealer and a
            second delivery option which specifies a different second pickup
            location, wherein the consumer selection indicates a consumer
            intention to one of purchase the first automobile and lease the first
            automobile based on the first bid and specifies one of the first
            delivery option and the second delivery option.

      42.   Claim 54 of the ’925 Patent recites (with emphasis added):

            A system comprising:

            a computer readable medium storing automobile market data
            which is representative of recent automobile market characteristics,
            including at least pricing data and inventory data, wherein the
            automobile market data includes information received from a
            plurality of dealers and a plurality of consumers;

            at least one processing device operably coupled to the computer
            readable medium, the at least one processing device executing
            instructions to:




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            receive, via a consumer interface, a first request for a response
            regarding a first automobile, the first request including data
            provided with at least one graphical user interface component;

            provide first automobile market data, based on the first request, via
            a dealer interface, wherein the first automobile market data is
            based on real-time automobile market data and actual sales data for
            comparable automobiles within a predetermined time period and
            within a predetermined geographic area;

            request, via a dealer interface from at least two dealers, a bid to sell
            the first automobile based on the first request;

            provide the response including at least two bids via the consumer
            interface, the at least two bids each including at least a price and a
            delivery option for the first automobile, the at least two bids based
            on the first automobile market data; and

            receive a consumer selection of a first bid including a first delivery
            option which specifies a first pickup location at a first dealer and a
            second delivery option which specifies a different second pickup
            location, wherein the consumer selection indicates a consumer
            intention to one of purchase the first automobile and lease the first
            automobile based on the first bid and specifies one of the first
            delivery option and the second delivery option.

      43.   Claim 55 of the ’925 Patent recites (with emphasis added):

            A non-transitory computer readable medium storing software
            instructions which, when executed, cause an information
            processing apparatus to:

            store automobile market data which is representative of recent
            automobile market characteristics, including at least pricing data
            and inventory data, wherein the automobile market data includes
            information received from a plurality of dealers and a plurality of
            consumers;

            receive, via a consumer interface, a first request for a response
            regarding a first automobile, the first request including a vehicle
            identification number;

            provide first automobile market data, based on the first request, via
            a dealer interface, wherein the first automobile market data is
            based on real-time automobile market data and actual sales data for
            comparable automobiles within a predetermined time period and
            within a predetermined geographic area;




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            request, via a dealer interface from at least two dealers, a bid to sell
            the first automobile based on the first request;

            provide the response including at least two bids via the consumer
            interface, the at least two bids each including at least a price and a
            delivery option for the first automobile, the at least two bids based
            on the first automobile market data; and

            receive a consumer selection of a first bid including a first delivery
            option which specifies a first pickup location at a first dealer and a
            second delivery option which specifies a different second pickup
            location, wherein the consumer selection indicates a consumer
            intention to one of purchase the first automobile and lease the first
            automobile based on the first bid and specifies one of the first
            delivery option and the second delivery option.

      44.   Claim 56 of the ’925 Patent recites (with emphasis added):

            A non-transitory computer readable medium storing software
            instructions which, when executed, cause an information
            processing apparatus to:

            store automobile market data which is representative of recent
            automobile market characteristics, including at least pricing data
            and inventory data, wherein the automobile market data includes
            information received from a plurality of dealers and a plurality of
            consumers;

            receive, via a consumer interface, a first request for a response
            regarding a first automobile, the first request including data
            provided with at least one graphical user interface component;

            provide first automobile market data, based on the first request, via
            a dealer interface, wherein the first automobile market data is
            based on real-time automobile market data and actual sales data for
            comparable automobiles within a predetermined time period and
            within a predetermined geographic area;

            request, via a dealer interface from at least two dealers, a bid to sell
            the first automobile based on the first request;

            provide the response including at least two bids via the consumer
            interface, the at least two bids each including at least a price and a
            delivery option for the first automobile, the at least two bids based
            on the first automobile market data; and

            receive a consumer selection of a first bid including a first delivery
            option which specifies a first pickup location at a first dealer and a



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                second delivery option which specifies a different second pickup
                location, wherein the consumer selection indicates a consumer
                intention to one of purchase the first automobile and lease the first
                automobile based on the first bid and specifies one of the first
                delivery option and the second delivery option.

       45.      Plaintiffs do not directly or indirectly infringe the ’925 Patent, either literally or

under the doctrine of equivalents, at least because Plaintiffs’ services: (1) do not employ,

incorporate, or otherwise make use of “inventoryless” bidding as required by independent claim

1 of the ’925 Patent and any claims depending therefrom; (2) do not employ, incorporate, or

otherwise make use of specifying one of the first delivery option and the second delivery option

as required by independent claims 2, 22, 34, and 54-56 of the ’925 Patent and any claims

depending therefrom.

       46.      A substantial, immediate, and real controversy exists between Plaintiffs and

Defendant regarding whether Plaintiffs infringe the ’925 Patent by making, using, importing,

offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application. A judicial declaration is necessary to determine the

parties’ respective rights regarding the ’925 Patent.

       47.      Plaintiffs seek a judgment declaring that Plaintiffs do not infringe, either literally

or under the doctrine of equivalents, one or more claims of the ’925 Patent by making, using,

importing, offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application, either directly under 35 U.S.C. § 271(a), or indirectly

under 35 U.S.C. §§ 271(b) and (c).

                                       COUNT III
                Declaratory Judgment of Non-infringement of the ’093 Patent

       48.      Plaintiffs incorporate the foregoing paragraphs by reference as though set forth

fully herein.




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       49.     On information and belief, Sidekick claims to own all rights, title, and interest in

the ’093 Patent. A true and correct copy of the ’093 Patent is attached hereto as Exhibit 7.

       50.     The ’093 Patent has two independent claims: claims 1 and 11.

       51.     Claim 1 of the ’093 Patent recites (with emphasis added):

               A method comprising:

               storing, on a computer readable medium, automobile market data
               which is representative of recent automobile market characteristics,
               including at least pricing data and inventory data, wherein the
               automobile market data includes information received from at least
               one manufacturer, a plurality of dealers, and a plurality of
               consumers, wherein at least a portion of the automobile market
               data is updated in real-time;

               receiving, via a used automobile consumer seller interface, a first
               request for a response regarding a first used automobile, wherein
               the first request is made by a consumer seller using a mobile
               device which takes a picture of a vehicle identification number and
               the vehicle identification number is recognized using optical
               character recognition, and the first request includes data provided
               with at least one graphical user interface component;

               causing at least one processing device to:

               provide first automobile market data, based on the first request, via
               a used automobile buyer interface, wherein the first automobile
               market data is based on real-time automobile market data and
               actual sales data for comparable automobiles within a specified
               time period and within a specified geographic area;

               request, via the used automobile buyer interface from at least two
               used automobile buyers, a bid to purchase the first used
               automobile based on the first request, wherein the at least two used
               automobile buyers include at least one dealer and at least one
               consumer;

               provide the response including at least two bids via the used
               automobile consumer seller interface, the at least two bids each
               including at least a price and a delivery option for the first used
               automobile, the at least two bids based on the first automobile
               market data; and




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            receiving a consumer seller selection of a first bid including a first
            delivery option which specifies a first pickup location and a second
            delivery option which specifies a different second pickup location,
            wherein the consumer seller selection indicates a consumer seller
            intention to sell the first used automobile based on the first bid to a
            first used automobile buyer and specifies one of the first delivery
            option and the second delivery option

      52.   Claim 11 of the ’093 Patent recites (with emphasis added):

            A system comprising:

            a computer readable medium storing automobile market data
            which is representative of recent automobile market characteristics,
            including at least pricing data and inventory data, wherein the
            automobile market data includes information received from at least
            one manufacturer, a plurality of dealers, and a plurality of
            consumers, wherein at least a portion of the automobile market
            data is updated in real-time;

            at least one processing device operably coupled to the computer
            readable medium, the at least one processing device executing
            instructions to:

            receive, via a used automobile consumer seller interface, a first
            request for a response regarding a first used automobile, wherein
            the first request is made by a consumer seller using a mobile
            device which takes a picture of a vehicle identification number and
            the vehicle identification number is recognized using optical
            character recognition, and the first request includes data provided
            with at least one graphical user interface component;

            provide first automobile market data, based on the first request, via
            a used automobile buyer interface, wherein the first automobile
            market data is based on real-time automobile market data and
            actual sales data for comparable automobiles within a specified
            time period and within a specified geographic area;

            request, via the used automobile buyer interface from at least two
            used automobile buyers, a bid to purchase the first used
            automobile based on the first request, wherein the at least two used
            automobile buyers include at least one dealer and at least one
            consumer;

            provide the response including at least two bids via the used
            automobile consumer seller interface, the at least two bids each
            including at least a price and a delivery option for the first used




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                automobile, the at least two bids based on the first automobile
                market data; and

                receive a consumer seller selection of a first bid including a first
                delivery option which specifies a first pickup location and a second
                delivery option which specifies a different second pickup location,
                wherein the consumer seller selection indicates a consumer seller
                intention to sell the first used automobile based on the first bid to a
                first used automobile buyer and specifies one of the first delivery
                option and the second delivery option.

       53.      Plaintiffs do not directly or indirectly infringe the ’093 Patent, either literally or

under the doctrine of equivalents, at least because Plaintiffs’ services do not request, via the used

automobile buyer interface from at least two used automobile buyers, a bid to purchase the first

used automobile as required by every claim of the ’093 Patent.

       54.      A substantial, immediate, and real controversy exists between Plaintiffs and

Defendant regarding whether Plaintiffs infringe the ’093 Patent by making, using, importing,

offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application. A judicial declaration is necessary to determine the

parties’ respective rights regarding the ’093 Patent.

       55.      Plaintiffs seek a judgment declaring that Plaintiffs do not infringe, either literally

or under the doctrine of equivalents, one or more claims of the ’093 Patent by making, using,

importing, offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application, either directly under 35 U.S.C. § 271(a), or indirectly

under 35 U.S.C. §§ 271(b) and (c).

                                       COUNT IV
                Declaratory Judgment of Non-infringement of the ’075 Patent

       56.      Plaintiffs incorporate the foregoing paragraphs by reference as though set forth

fully herein.




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       57.     On information and belief, Sidekick claims to own all rights, title, and interest in

the ’075 Patent. A true and correct copy of the ’075 Patent is attached hereto as Exhibit 8.

       58.     The ’075 Patent has three independent claims: claims 1, 17, and 18.

       59.     Claim 1 of the ’075 Patent recites (with emphasis added):

               A method comprising:

               storing, on a computer readable medium, automobile market data
               which is representative of recent automobile market characteristics,
               including at least pricing data, wherein the automobile market data
               includes information received from at least a plurality of
               consumers;

               receiving, via a used automobile consumer seller interface, a first
               request for a response regarding a first used automobile, the first
               request made by a consumer used automobile seller located at a
               first location and including a vehicle identification number and
               geolocation information of the consumer used automobile seller;

               executing instructions, by at least one processing device, to:

               determine, using on the geolocation information, that the consumer
               used automobile seller is located at the first location;

               generate, based on the determined first location, an in-market used
               automobile buyer area;

               determine that at least one used automobile buyer is located within
               the in-market used automobile buyer area;

               provide first automobile market data, based on the first request, via
               a used automobile buyer interface;

               request, via the used automobile buyer interface from the at least
               one used automobile buyer, a bid to purchase the first used
               automobile based on the first request;

               receive, via the used automobile buyer interface, at least one bid
               from at least one used automobile buyer, the at least one bid
               including a first bid from a first used automobile buyer located at a
               second location within the in-market used automobile buyer area;

               generate, based on receiving the first bid, driving directions from
               the first location to the second location; and




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            provide the response including the first bid via the used automobile
            consumer seller interface, the first bid including at least a price for
            the first used automobile, and the response including the driving
            directions from the first location to the second location; and

            receiving a consumer used automobile seller selection of the first
            bid, wherein the consumer used automobile seller selection
            indicates a consumer used automobile seller intention to sell the
            first used automobile based on the first bid to the first used
            automobile buyer.

      60.   Claim 17 of the ’075 Patent recites (with emphasis added):

            A system comprising:

            a computer readable medium storing automobile market data
            which is representative of recent automobile market characteristics,
            including at least pricing data, wherein the automobile market data
            includes information received from at least a plurality of
            consumers;

            at least one processing device operably coupled to the computer
            readable medium, the at least one processing device executing
            instructions to:

            receive, via a used automobile consumer seller interface, a first
            request for a response regarding a first used automobile, the first
            request made by a consumer used automobile seller located at a
            first location and including a vehicle identification number and
            geolocation information of the consumer used automobile seller;

            determine, using on the geolocation information, that the consumer
            used automobile seller is located at the first location;

            generate, based on the determined first location, an in-market used
            automobile buyer area;

            determine that at least one used automobile buyer is located within
            the in-market used automobile buyer area;

            provide first automobile market data, based on the first request, via
            a used automobile buyer interface;

            request, via the used automobile buyer interface from the at least
            one used automobile buyer, a bid to purchase the first used
            automobile based on the first request;




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            receive, via the used automobile buyer interface, at least one bid
            from at least one used automobile buyer, the at least one bid
            including a first bid from a first used automobile buyer located at a
            second location within the in-market used automobile buyer area;

            generate, based on receiving the first bid, driving directions from
            the first location to the second location; and

            provide the response including the first bid via the used automobile
            consumer seller interface, the first bid including at least a price for
            the first used automobile, and the response including the driving
            directions from the first location to the second location; and

            receive a consumer used automobile seller selection of the first bid,
            wherein the consumer used automobile seller selection indicates a
            consumer used automobile seller intention to sell the first used
            automobile based on the first bid to the first used automobile
            buyer.

      61.   Claim 18 of the ’075 Patent recites (with emphasis added):

            A non-transitory computer readable medium storing instructions
            which, when executed, are configured to cause an information
            processing apparatus to:

            store automobile market data which is representative of recent
            automobile market characteristics, including at least pricing data,
            wherein the automobile market data includes information received
            from at least a plurality of consumers;

            receive, via a used automobile consumer seller interface, a first
            request for a response regarding a first used automobile, the first
            request made by a consumer used automobile seller located at a
            first location and including a vehicle identification number and
            geolocation information of the consumer used automobile seller;

            determine, using on the geolocation information, that the consumer
            used automobile seller is located at the first location;

            generate, based on the determined first location, an in-market used
            automobile buyer area;

            determine that at least one used automobile buyer is located within
            the in-market used automobile buyer area;

            provide first automobile market data, based on the first request, via
            a used automobile buyer interface;




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               request, via the used automobile buyer interface from the at least
               one used automobile buyer, a bid to purchase the first used
               automobile based on the first request;

               receive, via the used automobile buyer interface, at least one bid
               from at least one used automobile buyer, the at least one bid
               including a first bid from a first used automobile buyer located at a
               second location within the in-market used automobile buyer area;

               generate, based on receiving the first bid, driving directions from
               the first location to the second location; and

               provide the response including the first bid via the used automobile
               consumer seller interface, the first bid including at least a price for
               the first used automobile, and the response including the driving
               directions from the first location to the second location; and

               receive a consumer used automobile seller selection of the first bid,
               wherein the consumer used automobile seller selection indicates a
               consumer used automobile seller intention to sell the first used
               automobile based on the first bid to the first used automobile
               buyer.

       62.     Plaintiffs do not directly or indirectly infringe the ’075 Patent, either literally or

under the doctrine of equivalents, at least because Plaintiffs’ services do not employ, incorporate,

or otherwise make use of generating, based on receiving the first bid, driving directions from the

first location to the second location as required by every claim of the ’075 Patent.

       63.     A substantial, immediate, and real controversy exists between Plaintiffs and

Defendant regarding whether Plaintiffs infringe the ’075 Patent by making, using, importing,

offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application. A judicial declaration is necessary to determine the

parties’ respective rights regarding the ’075 Patent.

       64.     Plaintiffs seek a judgment declaring that Plaintiffs do not infringe, either literally

or under the doctrine of equivalents, one or more claims of the ’075 Patent by making, using,

importing, offering for sale and selling the functionalities available at their websites and/or any




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corresponding mobile device application, either directly under 35 U.S.C. § 271(a), or indirectly

under 35 U.S.C. §§ 271(b) and (c).

                                        COUNT V
                Declaratory Judgment of Non-infringement of the ’216 Patent

       65.      Plaintiffs incorporate the foregoing paragraphs by reference as though set forth

fully herein.

       66.      On information and belief, Sidekick claims to own all rights, title, and interest in

the ’216 Patent. A true and correct copy of the ’216 Patent is attached hereto as Exhibit 9.

       67.      The ’216 Patent has three independent claims: claims 1, 24, and 25.

       68.      Claim 1 of the ’216 Patent recites (with emphasis added):

                A method comprising:

                storing, on a computer readable medium, automobile market data
                which is representative of recent automobile market characteristics,
                including at least pricing data and inventory data, wherein the
                automobile market data includes information received from a
                plurality of dealers and a plurality of consumers;

                receiving, via a consumer interface, a first request for a response
                regarding a first automobile, the first request made by a consumer
                located at a first location and including geolocation information of
                the consumer;

                executing instructions, by at least one processing device, to:

                determine, using the information, that the consumer is located at
                the first location;

                determine, based on a determination that the consumer is located
                at the first location, that the consumer is located at a first dealer;

                generate, based on the first dealer, an in-market dealer area
                proximately located to the first dealer;

                determine that a second dealer is located at a second location
                within the in-market dealer area;

                provide first automobile market data to the second dealer, based on
                the first request, via a dealer interface;



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            request, via the dealer interface from the second dealer, a bid to
            sell the first automobile based on the first request; and

            receive, via the dealer interface, a first bid from the second dealer
            located at the second location within the in-market dealer area;

            generate, based on receiving the first bid, driving directions from
            the first location to the second location;

            provide the response including the first bid via the consumer
            interface, the first bid including at least a price for the first
            automobile, and the response including the driving directions from
            the first location to the second location; and

            receiving a consumer selection of the first bid.

      69.   Claim 24 of the ’216 Patent recites (with emphasis added):

            A system comprising:

            a computer readable medium storing automobile market data
            which is representative of recent automobile market characteristics,
            including at least pricing data and inventory data, wherein the
            automobile market data includes information received from a
            plurality of dealers and a plurality of consumers; and

            at least one processing device operably coupled to the computer
            readable medium, the at least one processing device executing
            instructions to:

            receive, via a consumer interface, a first request for a response
            regarding a first automobile, the first request made by a consumer
            located at a first location and including geolocation information of
            the consumer;

            determine, using the information, that the consumer is located at
            the first location;

            determine, based on a determination that the consumer is located
            at the first location, that the consumer is located at a first dealer;

            generate, based on the first dealer, an in-market dealer area
            proximately located to the first dealer;

            determine that a second dealer is located at a second location
            within the in-market dealer area;




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            provide first automobile market data to the second dealer, based on
            the first request, via a dealer interface;

            request, via the dealer interface from the second dealer, a bid to
            sell the first automobile based on the first request;

            receive, via the dealer interface, a first bid from the second dealer
            located at the second location within the in-market dealer area;

            generate, based on receiving the first bid, driving directions from
            the first location to the second location;

            provide the response including the first bid via the consumer
            interface, the first bid including at least a price for the first
            automobile, and the response including the driving directions from
            the first location to the second location; and

            receiving a consumer selection of the first bid.

      70.   Claim 25 of the ’216 Patent recites (with emphasis added):

            A non-transitory computer readable medium storing instructions
            which, when executed, are configured to cause an information
            processing apparatus to:

            store automobile market data which is representative of recent
            automobile market characteristics, including at least pricing data
            and inventory data, wherein the automobile market data includes
            information received from a plurality of dealers and a plurality of
            consumers;

            receive, via a consumer interface, a first request for a response
            regarding a first automobile, the first request made by a consumer
            located at a first location and including geolocation information of
            the consumer;

            determine, using the geolocation information, that the consumer
            is located at the first location;

            determine, based on a determination that the consumer is located
            at the first location, that the consumer is located at a first dealer;

            generate, based on the first dealer, an in-market dealer area
            proximately located to the first dealer;

            determine that a second dealer is located at a second location
            within the in-market dealer area;




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               provide first automobile market data to the second dealer, based on
               the first request, via a dealer interface;

               request, via the dealer interface from the second dealer, a bid to
               sell the first automobile based on the first request;

               receive, via the dealer interface, a first bid from the second dealer
               located at the second location within the in-market dealer area;

               generate, based on receiving the first bid, driving directions from
               the first location to the second location;

               provide the response including the first bid via the consumer
               interface, the first bid including at least a price for the first
               automobile, and the response including the driving directions from
               the first location to the second location; and

               receive a consumer selection of the first bid.

       71.     Plaintiffs do not directly or indirectly infringe the ’216 Patent, either literally or

under the doctrine of equivalents, at least because Plaintiffs’ services do not employ, incorporate,

or otherwise make use of determining, based on a determination that the consumer is located at

the first location, that the consumer is located at a first dealer as required by every claim of the

’216 Patent.

       72.     A substantial, immediate, and real controversy exists between Plaintiffs and

Defendant regarding whether Plaintiffs infringe the ’216 Patent by making, using, importing,

offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application. A judicial declaration is necessary to determine the

parties’ respective rights regarding the ’216 Patent.

       73.     Plaintiffs seek a judgment declaring that Plaintiffs do not infringe, either literally

or under the doctrine of equivalents, one or more claims of the ’216 Patent by making, using,

importing, offering for sale and selling the functionalities available at their websites and/or any




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corresponding mobile device application, either directly under 35 U.S.C. § 271(a), or indirectly

under 35 U.S.C. §§ 271(b) and (c).

                                       COUNT VI
                Declaratory Judgment of Non-infringement of the ’467 Patent

       74.      Plaintiffs incorporate the foregoing paragraphs by reference as though set forth

fully herein.

       75.      On information and belief, Sidekick claims to own all rights, title, and interest in

the ’467 Patent. A true and correct copy of the ’467 Patent is attached hereto as Exhibit 10.

       76.      The ’467 Patent has three independent claims: claims 1, 19, and 20.

       77.      Claim 1 of the ’467 Patent recites (with emphasis added):

                A method comprising:

                receiving, via a used automobile consumer seller interface, a first
                request for a response regarding a first used automobile, the first
                request made by a consumer used automobile seller located at a
                first location and including a vehicle identifier and geolocation
                information of the consumer used automobile seller;

                executing instructions, by at least one processing device, to:

                determine, based on the geolocation information, that the
                consumer used automobile seller is located at the first location;

                generate, based on the determined first location, an in-market used
                automobile buyer area;

                determine that at least one used automobile buyer is located within
                the in-market used automobile buyer area;

                receive, via a used automobile buyer interface, a first bid from a
                first used automobile buyer located at a second location within the
                in-market used automobile buyer area;

                generate, based on receiving the first bid, driving directions from
                the first location to the second location; and

                provide, via the used automobile consumer seller interface, the first
                bid including at least a price for the first used automobile and the
                driving directions from the first location to the second location.



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      78.   Claim 19 of the ’467 Patent recites (with emphasis added):

            A system comprising:

            a computer readable medium storing instructions;

            at least one processing device operably coupled to the computer
            readable medium, the at least one processing device executing the
            instructions to:

            receive, via a used automobile consumer seller interface, a first
            request for a response regarding a first used automobile, the first
            request made by a consumer used automobile seller located at a
            first location and including a vehicle identifier and geolocation
            information of the consumer used automobile seller;

            determine, based on the geolocation information, that the
            consumer used automobile seller is located at the first location;

            generate, based on the determined first location, an in-market used
            automobile buyer area;

            determine that at least one used automobile buyer is located within
            the in-market used automobile buyer area;

            receive, via a used automobile buyer interface, a first bid from a
            first used automobile buyer located at a second location within the
            in-market used automobile buyer area;

            generate, based on receiving the first bid, driving directions from
            the first location to the second location; and

            provide, via the used automobile consumer seller interface, the first
            bid including at least a price for the first used automobile and the
            driving directions from the first location to the second location.

      79.   Claim 20 of the ’467 Patent recites (with emphasis added):

            A non-transitory computer readable medium storing instructions
            which, when executed, are configured to cause an information
            processing apparatus to:

            receive, via a used automobile consumer seller interface, a first
            request for a response regarding a first used automobile, the first
            request made by a consumer used automobile seller located at a
            first location and including a vehicle identifier and geolocation
            information of the consumer used automobile seller;




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               determine, based on the geolocation information, that the
               consumer used automobile seller is located at the first location;

               generate, based on the determined first location, an in-market used
               automobile buyer area;

               determine that at least one used automobile buyer is located within
               the in-market used automobile buyer area;

               receive, via a used automobile buyer interface, a first bid from a
               first used automobile buyer located at a second location within the
               in-market used automobile buyer area;

               generate, based on receiving the first bid, driving directions from
               the first location to the second location; and

               provide, via the used automobile consumer seller interface, the first
               bid including at least a price for the first used automobile and the
               driving directions from the first location to the second location.

       80.     Plaintiffs do not directly or indirectly infringe the ’467 Patent, either literally or

under the doctrine of equivalents, at least because Plaintiffs’ services: (1) do not employ,

incorporate, or otherwise make use of determining, based on the geolocation information, that

the consumer used automobile seller is located at the first location as required by every claim of

the ’467 Patent; and (2) do not employ, incorporate, or otherwise make use of “driving

directions” as required by every claim of the ’467 Patent.

       81.     A substantial, immediate, and real controversy exists between Plaintiffs and

Defendant regarding whether Plaintiffs infringe the ’467 Patent by making, using, importing,

offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application. A judicial declaration is necessary to determine the

parties’ respective rights regarding the ’467 Patent.

       82.     Plaintiffs seek a judgment declaring that Plaintiffs do not infringe, either literally

or under the doctrine of equivalents, one or more claims of the ’467 Patent by making, using,

importing, offering for sale and selling the functionalities available at their websites and/or any




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corresponding mobile device application, either directly under 35 U.S.C. § 271(a), or indirectly

under 35 U.S.C. §§ 271(b) and (c).

                                      COUNT VII
                Declaratory Judgment of Non-infringement of the ’897 Patent

       83.      Plaintiffs incorporate the foregoing paragraphs by reference as though set forth

fully herein.

       84.      On information and belief, Sidekick claims to own all rights, title, and interest in

the ’897 Patent. A true and correct copy of the ’897 Patent is attached hereto as Exhibit 11.

       85.      The ’897 Patent has three independent claims: claims 1, 39, and 40.

       86.      Claim 1 of the ’897 Patent recites (with emphasis added):

                1. A method comprising:

                storing, on a computer readable medium, automobile market data
                which is representative of recent automobile market characteristics,
                including at least pricing data and inventory data, wherein the
                automobile market data includes information received from at least
                one manufacturer, a plurality of dealers, and a plurality of
                consumers, wherein at least a portion of the automobile market
                data is updated in real-time;

                receiving, via a consumer interface, a first request for a response
                regarding a first automobile, which is manufactured by a first
                manufacturer, the first request made by a consumer located at a
                first location and including geolocation information of the
                consumer;

                executing instructions, by at least one processing device, to:

                determine current inventory data of the first automobile, wherein
                the current inventory data of the first automobile includes a
                plurality of dealer inventories of a plurality of dealers, with each
                respective dealer of the plurality of dealers having a respective
                dealer inventory, and wherein the current inventory data indicates
                that a first dealer of the plurality of dealers does not currently have
                the first automobile in a first inventory of the first dealer;

                provide first automobile market data including the current
                inventory data of the first automobile to the first manufacturer,




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            based on the first request, via a manufacturer interface, wherein the
            first automobile market data is based on real-time automobile
            market data;

            generate, based on the first automobile market data including the
            current inventory data of the first automobile, via the manufacturer
            interface, at least one of a verification indicating that the first
            automobile can be provided for the consumer, a confirmation
            indicating that the first automobile can be provided for the
            consumer, and an offer indicating that the first automobile can be
            provided for the consumer;

            determine, using the geolocation information, that the consumer is
            located at the first location;

            generate, based on the first location, an in-market dealer area
            proximately located to the first location;

            determine that the first dealer is located at a second location within
            the in-market dealer area;

            provide a first manufacturer response via the consumer interface,
            the first manufacturer response including the at least one of the
            verification indicating that the first automobile can be provided for
            the consumer, the confirmation indicating that the first automobile
            can be provided for the consumer, and the offer indicating that the
            first automobile can be provided for the consumer;

            request, from the first dealer, via a dealer interface, an
            inventoryless bid to sell the first automobile based on the first
            manufacturer response;

            receive, from the first dealer located at the second location and
            engaging in inventoryless bidding, the inventoryless bid to provide
            the first automobile, which is at least one of yet to be manufactured
            and in the inventory of another entity;

            generate driving directions from the first location to the second
            location; and

            provide the inventoryless bid and the driving directions to the
            consumer interface, the inventoryless bid including at least a price
            and a delivery option; and

            receiving a consumer selection of the inventoryless bid including a
            first delivery option which specifies a pickup location at the first
            dealer, wherein the consumer selection indicates a consumer
            intention to purchase the first automobile.



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      87.   Claim 39 of the ’897 Patent recites (with emphasis added):

            A system comprising:

            a computer readable medium storing automobile market data
            which is representative of recent automobile market characteristics,
            including at least pricing data and inventory data, wherein the
            automobile market data includes information received from at least
            one manufacturer, a plurality of dealers, and a plurality of
            consumers; and

            at least one processing device operably coupled to the computer
            readable medium, the at least one processing device executing
            instructions to:

            receive, via a consumer interface, a first request for a response
            regarding a first automobile, which is manufactured by a first
            manufacturer, the first request made by a consumer located at a
            first location and including geolocation information of the
            consumer;

            determine current inventory data of the first automobile, wherein
            the current inventory data of the first automobile includes a
            plurality of dealer inventories of a plurality of dealers, with each
            respective dealer of the plurality of dealers having a respective
            dealer inventory, and wherein the current inventory data indicates
            that a first dealer of the plurality of dealers does not currently have
            the first automobile in a first inventory of the first dealer;

            provide first automobile market data including the current
            inventory data of the first automobile to the first manufacturer,
            based on the first request, via a manufacturer interface;

            generate, based on the first automobile market data including the
            current inventory data of the first automobile, via the manufacturer
            interface, at least one of a verification indicating that the first
            automobile can be provided for the consumer, a confirmation
            indicating that the first automobile can be provided for the
            consumer, and an offer indicating that the first automobile can be
            provided for the consumer;

            determine, using the geolocation information, that the consumer is
            located at the first location;

            generate, based on the first location, an in-market dealer area
            proximately located to the first location;




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            determine that the first dealer is located at a second location within
            the in-market dealer area;

            provide a first manufacturer response via the consumer interface,
            the first manufacturer response including the at least one of the
            verification indicating that the first automobile can be provided for
            the consumer, the confirmation indicating that the first automobile
            can be provided for the consumer, and the offer indicating that the
            first automobile can be provided for the consumer;

            request, from the first dealer, via a dealer interface, an
            inventoryless bid to sell the first automobile based on the first
            manufacturer response;

            receive, from the first dealer located at the second location and
            engaging in inventoryless bidding, the inventoryless bid to provide
            the first automobile, which is at least one of yet to be manufactured
            and in the inventory of another entity;

            generate driving directions from the first location to the second
            location;

            provide the inventoryless bid and the driving directions via the
            consumer interface, the inventoryless bid including at least a price
            and a delivery option; and

            receive a consumer selection of the inventoryless bid including a
            first delivery option which specifies a pickup location at the first
            dealer.

      88.   Claim 40 of the ’897 Patent recites (with emphasis added):

            A non-transitory computer readable medium storing software
            instructions which, when executed, cause an information
            processing apparatus to:

            store automobile market data which is representative of recent
            automobile market characteristics, including at least pricing data
            and inventory data, wherein the automobile market data includes
            information received from at least one manufacturer, a plurality of
            dealers, and a plurality of consumers;

            receive, via a consumer interface, a first request for a response
            regarding a first automobile, which is manufactured by a first
            manufacturer, the first request made by a consumer located at a
            first location and including geolocation information of the
            consumer;




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            determine current inventory data of the first automobile, wherein
            the current inventory data of the first automobile includes a
            plurality of dealer inventories of a plurality of dealers, with each
            respective dealer of the plurality of dealers having a respective
            dealer inventory, and wherein the current inventory data indicates
            that a first dealer of the plurality of dealers does not currently have
            the first automobile in a first inventory of the first dealer;

            provide first automobile market data including the current
            inventory data of the first automobile to the first manufacturer,
            based on the first request, via a manufacturer interface;

            generate, based on the first automobile market data including the
            current inventory data of the first automobile, via the manufacturer
            interface, at least one of a verification indicating that the first
            automobile can be provided for the consumer, a confirmation
            indicating that the first automobile can be provided for the
            consumer, and an offer indicating that the first automobile can be
            provided for the consumer;

            determine, using the geolocation information, that the consumer is
            located at the first location;

            generate, based on the first location, an in-market dealer area
            proximately located to the first location;

            determine that the first dealer is located at a second location within
            the in-market dealer area;

            provide a first manufacturer response via the consumer interface,
            the first manufacturer response including the at least one of the
            verification indicating that the first automobile can be provided for
            the consumer, the confirmation indicating that the first automobile
            can be provided for the consumer, and the offer indicating that the
            first automobile can be provided for the consumer;

            request, from the first dealer, via a dealer interface, an
            inventoryless bid to sell the first automobile based on the first
            manufacturer response;

            receive, from the first dealer located at the second location and
            engaging in inventoryless bidding, the inventoryless bid to provide
            the first automobile, which is at least one of yet to be manufactured
            and in the inventory of another entity;

            generate driving directions from the first location to the second
            location;




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                provide the inventoryless bid and the driving directions via the
                consumer interface, the inventoryless bid including at least a price
                and a delivery option; and

                receive a consumer selection of the inventoryless bid including a
                first delivery option which specifies a pickup location at the first
                dealer.

       89.      Plaintiffs do not directly or indirectly infringe the ’897 Patent, either literally or

under the doctrine of equivalents, at least because Plaintiffs’ services do not employ, incorporate,

or otherwise make use of “inventoryless” bidding as required by every claim of the ’897 Patent.

       90.      A substantial, immediate, and real controversy exists between Plaintiffs and

Defendant regarding whether Plaintiffs infringe the ’897 Patent by making, using, importing,

offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application. A judicial declaration is necessary to determine the

parties’ respective rights regarding the ’897 Patent.

       91.      Plaintiffs seek a judgment declaring that Plaintiffs do not infringe, either literally

or under the doctrine of equivalents, one or more claims of the ’897 Patent by making, using,

importing, offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application, either directly under 35 U.S.C. § 271(a), or indirectly

under 35 U.S.C. §§ 271(b) and (c).

                                      COUNT VIII
                Declaratory Judgment of Non-infringement of the ’704 Patent

       92.      Plaintiffs incorporate the foregoing paragraphs by reference as though set forth

fully herein.

       93.      On information and belief, Sidekick claims to own all rights, title, and interest in

the ’704 Patent. A true and correct copy of the ’704 Patent is attached hereto as Exhibit 12.

       94.      The ’704 Patent has three independent claims: claims 1, 37, and 38.




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      95.   Claim 1 of the ’704 Patent recites (with emphasis added):

            A method comprising:

            receiving, via a consumer interface, a first request for a response
            regarding a first automobile, the first request made by a consumer
            located at a first location and including geolocation information of
            the consumer;

            executing instructions, by at least one processing device, to:

            determine, based on the geolocation information, that the
            consumer is located at the first location;

            generate, based on the first location, an in-market dealer area
            proximately located to the first location;

            determine that a first dealer is located at a second location within
            the in-market dealer area;

            request, via a dealer interface from the first dealer, a bid to sell the
            first automobile based on the first request;

            receive, via the dealer interface, a first bid from the first dealer
            located at the second location within the in-market dealer area;

            generate, based on receiving the first bid, driving directions from
            the first location to the second location; and

            provide the first bid and the driving directions via the consumer
            interface, the first bid including at least a price for the first
            automobile.

      96.   Claim 37 of the ’704 Patent recites (with emphasis added):

            A system comprising:

            a computer readable medium storing instructions; and

            at least one processing device operably coupled to the computer
            readable medium, the at least one processing device the executing
            instructions to:

            receive, via a consumer interface, a first request for a response
            regarding a first automobile, the first request made by a consumer
            located at a first location and including geolocation information of
            the consumer;




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            determine, using the geolocation information, that the consumer
            is located at the first location;

            generate, based on the first location, an in-market dealer area
            proximately located to the first location;

            determine that a first dealer is located at a second location within
            the in-market dealer area;

            request, via a dealer interface from the first dealer, a bid to sell the
            first automobile based on the first request;

            receive, via the dealer interface, a first bid from the first dealer
            located at the second location within the in-market dealer area;

            generate, based on receiving the first bid, driving directions from
            the first location to the second location; and

            provide the first bid and the driving directions via the consumer
            interface, the first bid including at least a price for the first
            automobile.

      97.   Claim 38 of the ’704 Patent recites (with emphasis added):

            A non-transitory computer readable medium storing instructions
            which, when executed, are configured to cause an information
            processing apparatus to:

            receive, via a consumer interface, a first request for a response
            regarding a first automobile, the first request made by a consumer
            located at a first location and including geolocation information of
            the consumer;

            determine, using the geolocation information, that the consumer
            is located at the first location;

            generate, based on the first location, an in-market dealer area
            proximately located to the first location;

            determine that a first dealer is located at a second location within
            the in-market dealer area;

            request, via a dealer interface from the first dealer, a bid to sell the
            first automobile based on the first request;

            receive, via the dealer interface, a first bid from the first dealer
            located at the second location within the in-market dealer area;




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                generate, based on receiving the first bid, driving directions from
                the first location to the second location; and

                provide the first bid and the driving directions via the consumer
                interface, the first bid including at least a price for the first
                automobile.

       98.      Plaintiffs do not directly or indirectly infringe the ’704 Patent, either literally or

under the doctrine of equivalents, at least because Plaintiffs’ services do not employ, incorporate,

or otherwise make use of (1) determining, using the geolocation information, that the consumer

is located at the first location as required by every claim of the ’704 Patent; and (2) generating,

based on receiving the first bid, driving directions from the first location to the second location

as required by every claim of the ’704 Patent.

       99.      A substantial, immediate, and real controversy exists between Plaintiffs and

Defendant regarding whether Plaintiffs infringe the ’704 Patent by making, using, importing,

offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application. A judicial declaration is necessary to determine the

parties’ respective rights regarding the ’704 Patent.

       100.     Plaintiffs seek a judgment declaring that Plaintiffs do not infringe, either literally

or under the doctrine of equivalents, one or more claims of the ’704 Patent by making, using,

importing, offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application, either directly under 35 U.S.C. § 271(a), or indirectly

under 35 U.S.C. §§ 271(b) and (c).

                                       COUNT IX
                Declaratory Judgment of Non-infringement of the ’655 Patent

       101.     Plaintiffs incorporate the foregoing paragraphs by reference as though set forth

fully herein.




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       102.    On information and belief, Sidekick claims to own all rights, title, and interest in

the ’655 Patent. A true and correct copy of the ’655 Patent is attached hereto as Exhibit 13.

       103.    The ’655 Patent has three independent claims: claims 1, 19, and 28.

       104.    Claim 1 of the ’655 Patent recites (with emphasis added):

               A method comprising:

               receiving, via a used automobile seller interface, a first request for
               a response regarding a first used automobile, the first request made
               by a used automobile seller located at a first location and including
               a vehicle identifier and geolocation information of the used
               automobile;

               executing instructions, by at least one processing device, to:

               determine, based on the geolocation information, that the used
               automobile is located at the first location;

               generate, based on the determined first location, an in-market used
               automobile buyer area;

               determine that at least one used automobile buyer is located within
               the in-market used automobile buyer area;

               receive, via a used automobile buyer interface, a first bid from a
               first used automobile buyer located at a second location within the
               in-market used automobile buyer area;

               generate, based on receiving the first bid, driving directions from
               the first location to the second location; and

               provide, via the used automobile seller interface, the first bid
               including at least a price for the first used automobile and the
               driving directions from the first location to the second location.

       105.    Claim 19 of the ’655 Patent recites (with emphasis added):

               A system comprising:

               a computer readable medium storing instructions;

               at least one processing device operably coupled to the computer
               readable medium, the at least one processing device executing the
               instructions to:




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             receive, via a used automobile seller interface, a first request for a
             response regarding a first used automobile, the first request made
             by a used automobile seller located at a first location and including
             a vehicle identifier and geolocation information of the used
             automobile seller;

             determine, based on the geolocation information, that the used
             automobile is located at the first location;

             generate, based on the determined first location, an in-market used
             automobile buyer area;

             determine that at least one used automobile buyer is located within
             the in-market used automobile buyer area;

             receive, via a used automobile buyer interface, a first bid from a
             first used automobile buyer located at a second location within the
             in-market used automobile buyer area;

             generate, based on receiving the first bid, driving directions from
             the first location to the second location; and

             provide, via the used automobile seller interface, the first bid
             including at least a price for the first used automobile and the
             driving directions from the first location to the second location.

      106.   Claim 28 of the ’655 Patent recites (with emphasis added):

             A non-transitory computer readable medium storing instructions
             which, when executed, are configured to cause an information
             processing apparatus to:

             receive, via a used automobile seller interface, a first request for a
             response regarding a first used automobile, the first request made
             by a used automobile seller located at a first location and including
             a vehicle identifier and geolocation information of the used
             automobile;

             determine, based on the geolocation information, that the used
             automobile is located at the first location;

             generate, based on the determined first location, an in-market used
             automobile buyer area;

             determine that at least one used automobile buyer is located within
             the in-market used automobile buyer area;




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               receive, via a used automobile buyer interface, a first bid from a
               first used automobile buyer located at a second location within the
               in-market used automobile buyer area;

               generate, based on receiving the first bid, driving directions from
               the first location to the second location; and

               provide, via the used automobile seller interface, the first bid
               including at least a price for the first used automobile and the
               driving directions from the first location to the second location.

       107.    Plaintiffs do not directly or indirectly infringe the ’655 Patent, either literally or

under the doctrine of equivalents, at least because Plaintiffs’ services do not employ, incorporate,

or otherwise make use of (1) generating based on receiving the first bid, driving directions from

the first location to the second location as required by every claim of the ’655 Patent; and (2)

providing the driving directions from the first location to the second location as required by

every claim of the ’655 Patent.

       108.    A substantial, immediate, and real controversy exists between Plaintiffs and

Defendant regarding whether Plaintiffs infringe the ’655 Patent by making, using, importing,

offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application. A judicial declaration is necessary to determine the

parties’ respective rights regarding the ’655 Patent.

       109.    Plaintiffs seek a judgment declaring that Plaintiffs do not infringe, either literally

or under the doctrine of equivalents, one or more claims of the ’655 Patent by making, using,

importing, offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application, either directly under 35 U.S.C. § 271(a), or indirectly

under 35 U.S.C. §§ 271(b) and (c).




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                                        COUNT X
                Declaratory Judgment of Non-infringement of the ’722 Patent

       110.     Plaintiffs incorporate the foregoing paragraphs by reference as though set forth

fully herein.

       111.     On information and belief, Sidekick claims to own all rights, title, and interest in

the ’722 Patent. A true and correct copy of the ’722 Patent is attached hereto as Exhibit 14.

       112.     The ’722 Patent has three independent claims: claims 1, 27, and 33.

       113.     Claim 1 of the ’722 Patent recites (with emphasis added):

                A method comprising:

                receiving, via a consumer interface, a first request for a response
                regarding a first automobile, the first request made by a consumer
                located at a first location and including geolocation information of
                the consumer;

                executing instructions, by at least one processing device, to:

                determine, based on the geolocation information, that the
                consumer is located at the first location;

                generate, based on the first location, an in-market dealer area
                proximately located to the first location;

                determine that a first dealer is located at a second location within
                the in-market dealer area;

                receive, via a dealer interface, a first bid from the first dealer
                located at the second location within the in-market dealer area;

                generate, after receiving the first bid, driving directions between
                the first location and the second location; and

                provide the first bid and the driving directions via the consumer
                interface, the first bid including at least a price for the first
                automobile.

       114.     Claim 27 of the ’722 Patent recites (with emphasis added):

                A system comprising:

                a computer readable medium storing instructions; and



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             at least one processing device operably coupled to the computer
             readable medium, the at least one processing device the executing
             instructions to:

             receive, via a consumer interface, a first request for a response
             regarding a first automobile, the first request made by a consumer
             located at a first location and including geolocation information of
             the consumer;

             determine, using the geolocation information, that the consumer
             is located at the first location;

             generate, based on the first location, an in-market dealer area
             proximately located to the first location;

             determine that a first dealer is located at a second location within
             the in-market dealer area;

             receive, via a dealer interface, a first bid from the first dealer
             located at the second location within the in-market dealer area;

             generate, after receiving the first bid, driving directions between
             the first location and the second location; and

             provide the first bid and the driving directions via the consumer
             interface, the first bid including at least a price for the first
             automobile.

      115.   Claim 33 of the ’722 Patent recites (with emphasis added):

             A non-transitory computer readable medium storing instructions
             which, when executed, are configured to cause an information
             processing apparatus to:

             receive, via a consumer interface, a first request for a response
             regarding a first automobile, the first request made by a consumer
             located at a first location and including geolocation information of
             the consumer;

             determine, using the geolocation information, that the consumer
             is located at the first location;

             generate, based on the first location, an in-market dealer area
             proximately located to the first location;

             determine that a first dealer is located at a second location within
             the in-market dealer area;




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               receive, via a dealer interface, a first bid from the first dealer
               located at the second location within the in-market dealer area;

               generate, after receiving the first bid, driving directions between
               the first location and the second location; and

               provide the first bid and the driving directions via the consumer
               interface, the first bid including at least a price for the first
               automobile.

       116.    Plaintiffs do not directly or indirectly infringe the ’722 Patent, either literally or

under the doctrine of equivalents, at least because Plaintiffs’ services do not employ, incorporate,

or otherwise make use of (1) determining, using the geolocation information, that the consumer

is located at the first location as required by every claim of the ’722 Patent; and (2) generating,

after receiving the first bid, driving directions between the first location and the second location

as required by every claim of the ’722 Patent.

       117.    A substantial, immediate, and real controversy exists between Plaintiffs and

Defendant regarding whether Plaintiffs infringe the ’722 Patent by making, using, importing,

offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application. A judicial declaration is necessary to determine the

parties’ respective rights regarding the ’722 Patent.

       118.    Plaintiffs seek a judgment declaring that Plaintiffs do not infringe, either literally

or under the doctrine of equivalents, one or more claims of the ’722 Patent by making, using,

importing, offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application, either directly under 35 U.S.C. § 271(a), or indirectly

under 35 U.S.C. §§ 271(b) and (c).




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                                       COUNT XI
                Declaratory Judgment of Non-infringement of the ’720 Patent

       119.     Plaintiffs incorporate the foregoing paragraphs by reference as though set forth

fully herein.

       120.     On information and belief, Sidekick claims to own all rights, title, and interest in

the ’720 Patent. A true and correct copy of the ’720 Patent is attached hereto as Exhibit 15.

       121.     The ’720 Patent has three independent claims: claims 1, 29, and 34.

       122.     Claim 1 of the ’720 Patent recites (with emphasis added):

                A method comprising:

                receiving, via a consumer interface, a first request for a response
                regarding a first automobile, which is manufactured by a first
                manufacturer, the first request made by a consumer located at a
                first location and including geolocation information of the
                consumer;

                executing instructions, by at least one processing device, to:

                generate, based on current inventory data of the first automobile at
                least one of a verification indicating that the first automobile can
                be provided for the consumer, a confirmation indicating that the
                first automobile can be provided for the consumer, and an offer
                indicating that the first automobile can be provided for the
                consumer;

                determine, based on the geolocation information, that the
                consumer is located at the first location;

                generate, based on the first location, an in-market dealer area
                proximately located to the first location;

                determine that at least a first dealer is located within the in-market
                dealer area, the first dealer located at a second location;

                provide a first manufacturer response via the consumer interface,
                the first manufacturer response including the at least one of the
                verification indicating that the first automobile can be provided for
                the consumer, the confirmation indicating that the first automobile
                can be provided for the consumer, and the offer indicating that the
                first automobile can be provided for the consumer;




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             receive, from the first dealer located at the second location, the bid
             to provide the first automobile;

             generate driving directions between the first location and the
             second location; and

             provide the bid and the driving directions to the consumer
             interface, the bid including at least a price.

      123.   Claim 29 of the ’720 Patent recites (with emphasis added):

             A system comprising:

             a computer readable medium storing instructions; and

             at least one processing device operably coupled to the computer
             readable medium, the at least one processing device executing the
             instructions to:

             receive, via a consumer interface, a first request for a response
             regarding a first automobile, which is manufactured by a first
             manufacturer, the first request made by a consumer located at a
             first location and including geolocation information of the
             consumer;

             generate, based on current inventory data of the first automobile at
             least one of a verification indicating that the first automobile can
             be provided for the consumer, a confirmation indicating that the
             first automobile can be provided for the consumer, and an offer
             indicating that the first automobile can be provided for the
             consumer;

             determine, based on the geolocation information, that the
             consumer is located at the first location;

             generate, based on the first location, an in-market dealer area
             proximately located to the first location;

             determine that at least a first dealer is located within the in-market
             dealer area, the first dealer located at a second location;

             provide a first manufacturer response via the consumer interface,
             the first manufacturer response including the at least one of the
             verification indicating that the first automobile can be provided for
             the consumer, the confirmation indicating that the first automobile
             can be provided for the consumer, and the offer indicating that the
             first automobile can be provided for the consumer;




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             receive, from the first dealer located at the second location, the bid
             to provide the first automobile;

             generate driving directions between the first location and the
             second location; and

             provide the bid and the driving directions via the consumer
             interface, the bid including at least a price.

      124.   Claim 34 of the ’720 Patent recites (with emphasis added):

             A non-transitory computer readable medium storing software
             instructions which, when executed, cause an information
             processing apparatus to:

             receive, via a consumer interface, a first request for a response
             regarding a first automobile, which is manufactured by a first
             manufacturer, the first request made by a consumer located at a
             first location and including geolocation information of the
             consumer;

             generate, based on current inventory data of the first automobile at
             least one of a verification indicating that the first automobile can
             be provided for the consumer, a confirmation indicating that the
             first automobile can be provided for the consumer, and an offer
             indicating that the first automobile can be provided for the
             consumer;

             determine, based on the geolocation information, that the
             consumer is located at the first location;

             generate, based on the first location, an in-market dealer area
             proximately located to the first location;

             determine that at least a first dealer is located within the in-market
             dealer area, the first dealer located at a second location;

             provide a first manufacturer response via the consumer interface,
             the first manufacturer response including the at least one of the
             verification indicating that the first automobile can be provided for
             the consumer, the confirmation indicating that the first automobile
             can be provided for the consumer, and the offer indicating that the
             first automobile can be provided for the consumer;

             receive, from the first dealer located at the second location, the bid
             to provide the first automobile;




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                generate driving directions between the first location and the
                second location; and

                provide the bid and the driving directions via the consumer
                interface, the bid including at least a price.

       125.     Plaintiffs do not directly or indirectly infringe the ’720 Patent, either literally or

under the doctrine of equivalents, at least because Plaintiffs’ services do not employ, incorporate,

or otherwise make use of providing: (1) determining, using the geolocation information, that the

consumer is located at the first location as required by every claim of the ’720 Patent; and (2)

generating driving directions between the first location and the second location as required by

every claim of the ’720 Patent.

       126.     A substantial, immediate, and real controversy exists between Plaintiffs and

Defendant regarding whether Plaintiffs infringe the ’720 Patent by making, using, importing,

offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application. A judicial declaration is necessary to determine the

parties’ respective rights regarding the ’720 Patent.

       127.     Plaintiffs seek a judgment declaring that Plaintiffs do not infringe, either literally

or under the doctrine of equivalents, one or more claims of the ’720 Patent by making, using,

importing, offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application, either directly under 35 U.S.C. § 271(a), or indirectly

under 35 U.S.C. §§ 271(b) and (c).

                                      COUNT XII
                Declaratory Judgment of Non-infringement of the ’362 Patent

       128.     Plaintiffs incorporate the foregoing paragraphs by reference as though set forth

fully herein.




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       129.    On information and belief, Sidekick claims to own all rights, title, and interest in

the ’362 Patent. A true and correct copy of the ’362 Patent is attached hereto as Exhibit 16.

       130.    The ’362 Patent has three independent claims: claims 1, 32, and 63.

       131.    Claim 1 of the ’362 Patent recites (with emphasis added):

               A method comprising:

               receiving, via a used automobile seller interface, a first request for
               a response regarding a first used automobile, the first request made
               by a used automobile seller located at a first location and including
               a vehicle identifier and geolocation information of the first used
               automobile;

               determining, based on the geolocation information, that the first
               used automobile is located at the first location;

               generating, based on the determined first location, an in-market
               used automobile buyer area;

               determining that at least one used automobile buyer is located
               within the in-market used automobile buyer area;

               receiving, via a used automobile buyer interface, a first bid from a
               first used automobile buyer located at a second location within the
               in-market used automobile buyer area;

               generating, based on receiving the first bid, driving directions
               between the first location and the second location; and

               providing, via the used automobile seller interface, the first bid
               including at least a price for the first used automobile and the
               driving directions between the first location and the second
               location.

       132.    Claim 32 of the ’362 Patent recites (with emphasis added):

               A system comprising:

               a computer readable medium storing instructions;

               at least one processing device operably coupled to the computer
               readable medium, the at least one processing device executing the
               instructions to:




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             receive, via a used automobile seller interface, a first request for a
             response regarding a first used automobile, the first request made
             by a used automobile seller located at a first location and including
             a vehicle identifier and geolocation information of the first used
             automobile;

             determine, based on the geolocation information, that the first used
             automobile is located at the first location;

             generate, based on the determined first location, an in-market used
             automobile buyer area;

             determine that at least one used automobile buyer is located within
             the in-market used automobile buyer area;

             receive, via a used automobile buyer interface, a first bid from a
             first used automobile buyer located at a second location within the
             in-market used automobile buyer area;

             generate, based on receiving the first bid, driving directions
             between the first location and the second location; and

             provide, via the used automobile seller interface, the first bid
             including at least a price for the first used automobile and the
             driving directions between the first location and the second
             location.

      133.   Claim 63 of the ’362 Patent recites (with emphasis added):

             A non-transitory computer readable medium storing instructions
             which, when executed, are configured to cause an information
             processing apparatus to:

             receive, via a used automobile seller interface, a first request for a
             response regarding a first used automobile, the first request made
             by a used automobile seller located at a first location and including
             a vehicle identifier and geolocation information of the first used
             automobile;

             determine, based on the geolocation information, that the first used
             automobile is located at the first location;

             generate, based on the determined first location, an in-market used
             automobile buyer area;

             determine that at least one used automobile buyer is located within
             the in-market used automobile buyer area;




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               receive, via a used automobile buyer interface, a first bid from a
               first used automobile buyer located at a second location within the
               in-market used automobile buyer area;

               generate, based on receiving the first bid, driving directions
               between the first location and the second location; and

               provide, via the used automobile seller interface, the first bid
               including at least a price for the first used automobile and the
               driving directions between the first location and the second
               location.

       134.    Plaintiffs do not directly or indirectly infringe the ’362 Patent, either literally or

under the doctrine of equivalents, at least because Plaintiffs’ services do not employ, incorporate,

or otherwise make use of (1) generating based on receiving the first bid, driving directions

between the first location and the second location as required by every claim of the ’362 Patent;

and (2) providing the driving directions between the first location and the second location as

required by every claim of the ’362 Patent.

       135.    A substantial, immediate, and real controversy exists between Plaintiffs and

Defendant regarding whether Plaintiffs infringe the ’362 Patent by making, using, importing,

offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application. A judicial declaration is necessary to determine the

parties’ respective rights regarding the ’362 Patent.

       136.    Plaintiffs seek a judgment declaring that Plaintiffs do not infringe, either literally

or under the doctrine of equivalents, one or more claims of the ’362 Patent by making, using,

importing, offering for sale and selling the functionalities available at their websites and/or any

corresponding mobile device application, either directly under 35 U.S.C. § 271(a), or indirectly

under 35 U.S.C. §§ 271(b) and (c).




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                                    PRAYERS FOR RELIEF

        WHEREFORE, Plaintiffs prays for judgment as follows:

        137.   That the Court enter judgment in Plaintiffs’ favor and declare that Plaintiffs do

not infringe each and every one of the Patents-in-Suit;

        138.   That the Court declare that Plaintiffs are free and clear to make, use, offer for sale

and sell the functionalities available at their websites and/or any corresponding mobile device

application despite any rights Defendant purports to own;

        139.   That the Court enjoin Defendant from representing to anyone that Plaintiffs are

infringing on any rights Defendant purports to own, including any rights based on the patents in

suit;

        140.   That the Court declare that this is an exceptional case under 35 U.S.C. § 285 and

award Plaintiffs their attorneys’ fees and costs incurred in this action; and

        141.   That this Court grants Plaintiffs such other further relief as the Court deems just

and proper.



Dated: March 25, 2021

                                               __________________________
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                                 RULE 11.2 CERTIFICATION

       I hereby certify, under penalty of perjury, that, to the best of my knowledge, the matter in

controversy is not the subject of any other action pending in any court, or of any pending

arbitration or administrative proceeding at this time.



Dated: March 25, 2021



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